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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO



 UNITED STATES OF AMERICA
      Plaintiff

        v.                                               Criminal No. 07-446 (ADC)

 MANUEL ANTONIO MARTE-NUÑEZ [1],
     Defendant.



              ORDER ADOPTING REPORT AND RECOMMENDATION

      Before the Court is an unopposed Report and Recommendation issued by Magistrate-

Judge Marcos E. Lopez on January 24, 2008. (Docket No. 102). In said Report and

Recommendation the Magistrate-Judge recommends that: defendant Manuel Antonio Marte-

Nuñez be adjudged guilty of the offenses charged in Count I (T. 8, U.S.C. §§ 1324(a)(1)(A)(I)

and T. 18, U.S.C. § 2) inasmuch as, his plea of guilty was intelligently, knowingly and

voluntarily entered.

      Neither party has filed objections to the Magistrate-Judge’s Report and

Recommendation within the time frame provided by the Federal Rules of Criminal Procedure

and this Court’s Local Rules. See Fed. R. Crim. P. 11; 28 U.S.C. § 636(b)(1)(B); D.P.R. Local

Crim. R. 147(b).
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       After reviewing the record, the Court agrees with the arguments, factual and legal

conclusions within the Report and Recommendation. Therefore, the Court hereby APPROVES

and ADOPTS the Magistrate-Judge’s Report and Recommendation in its entirety.

       Accordingly, a judgment of conviction is to be entered as to Count I of the indictment

in the above-captioned case.

       The sentencing hearing is set for April 30, 2008 at 11:30 a.m.

       IT IS SO ORDERED.

       At San Juan, Puerto Rico, this 13th day of February, 2008.



                                                S/AIDA M. DELGADO-COLON
                                                United States District Judge
